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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


ACUITAS CAPITAL, LLC,
                                                       23 Civ. 02124 (PAE)
                      Plaintiff,

          -against-                                    ORDER TO SHOW CAUSE

IDEANOMICS, INC.,

                      Defendant.


          UPON the accompanying Memorandum of Law in Support of Plaintiff’s

Application to Modify the Order Granting Preliminary Injunction (ECF No. 41) (the

“Preliminary Injunction Order”) and all prior pleadings and proceedings heretofore had

herein,

          Let Defendant Ideanomics, Inc. (“Ideanomics” or “Defendant”) show cause before

the Honorable Paul A. Engelmayer in Courtroom 1305 at the Courthouse located at

40 Foley Square, New York, New York 10017 on the 7th day of April, 2023,

at 11:00 a.m., why an Order should not be entered, pending a final determination in this

action:

          (A)    Modifying the Preliminary Injunction Order so that Paragraph 4 reads:

          Through and including June 19, 2023, Ideanomics shall not, without the prior

          written consent of Acuitas Capital, offer, pledge, sell, contract to sell, sell any

          option contract to purchase, purchase any option or contract to sell, grant any

          option, right or warrant to purchase, lend, or otherwise transfer or dispose of,

          directly or indirectly, any shares of capital stock of Ideanomics or any securities
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convertible into or exercisable or exchangeable for shares of capital stock of

Ideanomics (including, without limitation, pursuant to the Standby Equity Purchase

Agreement agreed between Ideanomics and YA II PN (“YA”) in August of 2022

(the “SEPA”), the First Amendment to the Secured Debenture Purchase Agreement

(“Amended SDPA”) between Ideanomics and YA, or the Secured Convertible

Debenture (“Convertible Debenture”) between Ideanomics and YA, both dated

March 30, 2023), provided, however, that if the trading price of Ideanomics

Common Stock is at least 20% greater than the conversion price of the Preferred

Stock, Ideanomics shall have the right to utilize the SEPA to sell up to 3% of the

outstanding volume of Ideanomics’ Common Stock; and

(B)    Modifying the Preliminary Injunction Order so that Paragraph 6 reads:

Pending further briefing as to the legality of such sale(s), and an ensuing court

order, Ideanomics shall hold in escrow, and not dissipate, the proceeds of any

sale(s) of any offer, pledge, sale, contract to sell, sale of any option or contract to

purchase, purchase of any option or contract to sell, granting of any option, right or

warrant to purchase, lending, or otherwise transfer or dispose of, directly or

indirectly, any shares of capital stock of Ideanomics or any securities convertible

into or exercisable or exchangeable for shares of capital stock of Ideanomics, that

was entered into on or after February 1, 2023, including, without limitation, any

funds received from YA pursuant to the SEPA, Amended SDPA, or Convertible

Debenture; and




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          (C)   Granting such other relief as this Court deems just and proper; and it is

further

          ORDERED that, any papers to be submitted in opposition to this Order to Show

Cause shall be served upon counsel for Plaintiff via ECF on or before April 5, 2023

at 12:00 p.m.

                                         SO ORDERED.


                                         _____________________________
                                         HON. PAUL A. ENGELMAYER
                                         UNITED STATES DISTRICT COURT JUDGE

Dated: April __, 2023
       New York, New York




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